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                                              No. 23-1231

                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT


 UNITED STATES OF AMERICA,                                  )
                                                            )
         Plaintiff-Appellee,                                )
                                                            )
 v.                                                         )                  ORDER
                                                            )
 FRANCISCO PATINO,                                          )
                                                            )
         Defendant-Appellant.                               )




         Before: CLAY, WHITE, and LARSEN, Circuit Judges.


         Defendant Francisco Patino appeals a post-conviction order denying him release pending

 appeal. The government urges us to affirm, noting that Patino fails to identify any substantial

 questions on appeal and, regardless, is both a flight risk and a danger to the community. Patino

 requests oral argument and separately moves to supplement the record with numerous character

 references. The government waives oral argument and opposes supplementation of the record.

 We find that the facts and legal arguments are adequately presented in the briefs and record and

 unanimously agree that oral argument is not needed. Fed. R. App. P. 34(a)(2)(C).

         A defendant found guilty of an offense and sentenced to a term of imprisonment must be

 detained unless a judicial officer concludes: (1) by clear and convincing evidence, that the

 defendant is not likely to flee or pose a danger to the safety of a person or the community; and

 (2) that his appeal is not for delay and raises a substantial question of law or fact likely to result in

 a reversal, an order for a new trial, a sentence that does not result in imprisonment, or a lesser
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 sentence sufficient to result in his release before the conclusion of his appeal. United States v.

 Chilingirian, 280 F.3d 704, 709 (6th Cir. 2002) (citing 18 U.S.C. § 3143(b)). “[A]n appeal raises

 a substantial question when [it] presents a close question or one that could go either way.” United

 States v. Pollard, 778 F.2d 1177, 1182 (6th Cir. 1985) (cleaned up). The burden of proof rests

 with the defendant. United States v. Vance, 851 F.2d 166, 169 (6th Cir. 1988); see also United

 States v. Thompson, No. 87-5579, 1987 WL 44453, at *1 (6th Cir. 1987) (table) (order) (“The

 burden of proof lies with the defendant, and if the court finds against him on any one of these

 criteria, he will be detained.”).

         Patino did not raise any issues challenging his conviction or sentence in his brief; thus, he

 failed to demonstrate that he raises a substantial question on appeal. See United States v. Johnson,

 440 F.3d 832, 845−46 (6th Cir. 2006) (holding that a defendant abandons all issues not raised and

 argued in his initial brief on appeal); see also United States v. Elder, 90 F.3d 1110, 1118 (6th Cir.

 1996) (“[I]ssues adverted to in a perfunctory manner, unaccompanied by some effort at developed

 argumentation, are deemed waived.” (quoting United States v. Zannino, 895 F.2d 1, 17 (1st Cir.

 1990)). Patino could have asserted the arguments he raised in his motion for new trial and at his

 sentencing hearing. But those arguments, challenging counsel’s effectiveness, are usually better

 addressed in collateral attacks rather than on direct appeal. See United States v. Ferguson, 669

 F.3d 756, 762 (6th Cir. 2012). And, in any event, surmounting the high bar for establishing

 ineffective assistance “is never an easy task.” Padilla v. Kentucky, 559 U.S. 356, 371 (2010).

         Patino squarely challenges only the district court’s conclusions that he is a risk of flight

 and a danger to the community. We need not reach these issues given his failure to establish a

 substantial question on appeal.
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                                          Accordingly, the district court’s detention order is AFFIRMED and the motion to

                                    supplement is DENIED.

                                                                          ENTERED BY ORDER OF THE COURT




                                                                          Deborah S. Hunt, Clerk




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